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 4
     Attorneys for Defendant NGA THIEN NGUYEN
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 8                                     UNITED STATES DISTRICT COURT

 9                            EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

10
     UNITED STATES OF AMERICA,                             CASE No. 1:13 – CR – 00036 LJO SKO
11
                         Plaintiff,
12                                                         CORRECTED STIPULATION AND
               v.                                          ORDER FOR RETURN OF DEFENDANT
13                                                         NGA THIEN NGUYEN'S PASSPORT
     NGA THIEN NGUYEN,                                     AND PERMISSION TO TRAVEL OUT OF
14                                                         COUNTRY
                         Defendant.
15

16

17                       WHEREAS the parties hereto, Plaintiff the United States of America and
18 Defendant Nga Thien Nguyen, have entered into a Deferred Prosecution Agreement (Document
19 89) and have made a motion to the Court that their agreement be approved (Document 90); and

20                       WHEREAS the Court has approved the parties' Deferred Prosecution Agreement
21 (Document 92) and the case as to Defendant Nga Thien Nguyen only has been set for a status

22 conference on the Deferred Prosecution Agreement for January 12, 2015 at 8:30 a.m.; and
23                       WHEREAS defendant Nga Thien Nguyen's father is elderly, lives in Vietnam and
24 there is some doubt that he will survive until the Deferred Prosecution Agreement is fully

25 performed;

26                       The parties hereto, by and through authorized counsel, HEREBY STIPULATE
27 AND AGREE as follows:

28
     1427471v2 / 10924.0046
        CORRECTED STIPULATION AND [PROPOSED] ORDER FOR RETURN OF DEFENDANT NGA THIEN
                 NGUYEN'S PASSPORT AND PERMISSION TO TRAVEL OUT OF COUNTRY
      Case 1:13-cr-00036-LJO-SKO Document 95 Filed 01/14/14 Page 2 of 3



 1                       1.    The Clerk's Office may return to Defendant Nga Thien Nuygen her U.S.

 2 Passport, Number 307432371, which was surrendered to the Court on or about February 21, 2013.

 3 (See Docket entry 26 herein.)

 4                       2.    The conditions of Defendant Nga Thien Nuygen's pretrial release may be

 5 amended to allow her to travel out of the country, with a destination of Vietnam, for the purpose

 6 of visiting her father.
            DATED: January 10, 2014                     BENJAMIN WANGER
 7                                                      United States Attorney
 8

 9                                                      By: /s/ Grant B. Rabenn
                                                        GRANT B. RABENN
10                                                      Assistant United States Attorney
                                                        Attorneys for Plaintiff United States of America
11

12
               DATED: January 10, 2014                  BAKER MANOCK & JENSEN, PC
13

14                                                      By: /s/ Robert D. Wilkinson
                                                        Robert D. Wilkinson
15                                                      Attorneys for Defendant NGA THIEN NGUYEN
16
                                             [PROPOSED] ORDER
17

18                       Good cause having been shown, IT IS HEREBY ORDERED as follows:
19                       1.    Clerk's Office shall return to Defendant Nga Thien Nguyen, either to her
20 personally or through her attorney Robert D. Wilkinson, her U.S. Passport, Number 307432371.

21 (See Docket entry 26 herein.)

22                       2.    The conditions of Defendant Nga Thien Nguyen's pretrial release shall be
23 modified to allow her to travel outside of the United States, with a destination of Vietnam, for the

24 purpose of visiting her father.

25

26 IT IS SO ORDERED.
27
          Dated:       January 13, 2014                       /s/ Lawrence J. O’Neill
28
     1427471v2 / 10924.0046                              2
        CORRECTED STIPULATION AND [PROPOSED] ORDER FOR RETURN OF DEFENDANT NGA THIEN
                 NGUYEN'S PASSPORT AND PERMISSION TO TRAVEL OUT OF COUNTRY
      Case 1:13-cr-00036-LJO-SKO Document 95 Filed 01/14/14 Page 3 of 3


                                              UNITED STATES DISTRICT JUDGE
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     1427471v2 / 10924.0046                  3
        CORRECTED STIPULATION AND [PROPOSED] ORDER FOR RETURN OF DEFENDANT NGA THIEN
                 NGUYEN'S PASSPORT AND PERMISSION TO TRAVEL OUT OF COUNTRY
